Case 2:Ol-cV-02780-SHI\/|-STA Document 257 Filed 06/08/05 Page 1 of 3 Page|D 301

  

IN THE UNITED STATES DISTRICT COURT Fu_ED sit D.C.
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 JU}.§ -3 PH h: |5
THE CLARK CONSTRUCTION ) F¢OBER";" ri, §i.)§ 'i`i*~;GLlO
sic us ri<“". e”.
GROUP’ INC., § §§ or ‘m. §tir`-liiir>+~iis
Plaintiff, )
)
v. ) NO. 01-2780 MafAn
)
CITY OF MEMPHIS and THE )
MEMPHIS COOK CONVENTION )
CENTER COMMISSION, )
)
Defendants. )

 

ORDER CLARIFYING MAY 9, 2005 ORDER

 

Before the Court is the parties’ Joint Request for Clariiication of the Court’s Order
Granting Clark Construction’s Emergency Motion to Cornpel filed on May 19, 2005. ln the
Motion, the parties question “whether the scope of the May 9, 2005 Order includes those
Pearson-related documents which are currently being reviewed by this Court in camera.” (Mot.
for Clarification, at 2). The May 9, 2005 Order does not encompass the Pearson-re]ated
documents that the Court is reviewing in camera The Court Will review those documents
separately and make an individual determination as to whether those documents should be
produced.

IT IS SO ORDERED.

/""'_°
b .J
S. THOMAS ANDERSON
UNITED STATES MAGISTRATE MGE

Date: 06 2004/

The's document entered on the docket sheet in compliance
with Rule 58 and/or 79(3) FHCP o`n la " 13

 

   

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Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/1emphis7 TN 38103

Daniel Warren Van Horn
ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

.1 ohn W. Ralls

THELEN REID & PRIEST
101 Second Street

18th Fl.

San Francisco, CA 94105

Lucian T. Pera

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

.1 ames R. Newland

THELEN REID & PRIEST
Market Square

Ste. 800

701 Pennsylvania Ave.7 N.W.
Washington, DC 20004

Michael I. Less

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/1emphis7 TN 38103

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Timothy R. Johnson

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

1\/1emphis7 TN 38103

William M. Jeter

LAW OFFICE OF WILLIAM .TETER
35 Union Ave.

Ste. 300

1\/1emphis7 TN 38103

Michael Evan .1 affe

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Albert C. Harvey

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

1\/1emphis7 TN 38103--552

.1 oseph T. Getz

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/1emphis7 TN 38103

.1 effrey R. Gans

THELEN REID & PRIEST LLP
701 Pennsylvania Ave.7 N.W.
Ste. 800

Washington, DC 20004

Taylor Cates

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Christopher 1\/1. Caputo
LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

